      Case 2:18-cv-00486-GEKP Document 13 Filed 04/17/18 Page 1 of 1




                    ~ IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

POLICE OFFICER KIMYETTA KING

                        Plaintiff,                NO.:   18-cv-00486

              v.

CITY OF PHILADELPHIA d/b/a
PHILADELPHIA POLICE DEPT; and
SERGEANT NANCY QUINN                              JURY TRIAL DEMANDED

                        Defendants.

                                      STIPULATION

       AND NOW, this _ _ _ _ _ day of _ _ _ _ _ _ _ _, 2018, it is hereby

STIPULATED and AGREED, by and between the undersigned counsel, that Plaintiff may file

her Second Amended Complaint within fourteen (14) days from the date of entry of this

Stipulation. It is also STIPULATED and AGREED that Defendants reserve all rights and

defenses.



WEISBERG LAW                                      CITY OF PHILADELPHIA LAW DEPT.


 /s/ Matthew B. Weisberg                          /s/ Benjamin R. Patchen
 Matthew B. Weisberg, Esquire                     Kevin R. Bradford, Esquire
·Attorney for Plaintiff, King                     Attorney for Defendants, City of
                                                  ·Philadelphia d/b/a Philadelphia Police Dept.
                                                  and Sergeant Nancy Quinn


       AND IT IS SO ORDERED.
